     Case 2:20-cv-00517-JTM-DMD Document 88-1 Filed 05/18/21 Page 1 of 3




                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

JERRY ROGERS, JR.,                        *     CIVIL ACTION
         Plaintiff                        *
                                          *     NO. 20-517
VERSUS                                    *
                                          *     JUDGE MILAZZO
                                          *
RANDY SMITH, INDIVIDUALLY                 *     MAG. JUDGE DOUGLAS
And IN HIS OFFICIAL CAPACITY              *
AS THE SHERIFF OF ST. TAMMANY             *     JURY DEMAND
PARISH, DANNY CULPEPER, AND               *
KEITH CANIZARRO                           *
            Defendants                    *
******************************************************************************

               MEMORANDUM IN SUPPORT OF DEFENDANTS’
                  EX PARTE MOTION FOR LEAVE TO FILE
        OPPOSITION TO MOTION FOR PROTECTIVE ORDER UNDER SEAL

MAY IT PLEASE THE COURT

       NOW INTO COURT, through undersigned counsel, come Defendants, St. Tammany

Parish Sheriff Randy Smith (“Sheriff Smith”), Danny Culpeper and Keith Canizaro, each in their

official and individual capacities, and submit the following memorandum in support of their

Motion for Leave to File Defendants’ Opposition to Motion for Protective Order Under Seal:

       Local Rule 5.6 provides that a document may be prospectively filed under seal if it is

accompanied, in part, by a non-confidential supporting memorandum that provides:

       1.   A non-confidential description of what is to be sealed;

       2.   A statement as to why sealing is necessary;

       3.   Reference to governing case law, and;

       4.   A statement of the period of time the party seeks to have the matter maintained
            under seal and how the matter is to be handled upon sealing.


                                           Page 1 of 3
     Case 2:20-cv-00517-JTM-DMD Document 88-1 Filed 05/18/21 Page 2 of 3




       Courts recognize that the public has a common law right to inspect and copy judicial

records, and therefore there is a presumption of public access. SEC v. Van Waeyenberghe, 990

F.2d 845, 848 (5th Cir. 1993). However, this right is not absolute, and “there are well-recognized

situations in which the seal may and should be used.” Fed. Sav. & Loan Ins. Corp. v. Blain, 808

F.2d 395, 399. Plaintiff has failed to provide any governing caselaw in support of these well-

recognized exceptions. Further, he has failed to provide a statement as to the period of time that

he intends to keep these records sealed. Defendants note that Plaintiff also failed to take

advantage of the Consent Protective Order (R. Doc. 55) that is already in place in this matter.

       Defendants respectfully aver that the items that Plaintiff has filed under seal do not

warrant such protections, however, in an abundance of caution as this Court has not yet ruled on

Plaintiff’s motion, Defendants request leave to file their Opposition to Plaintiff’s Motion for

Protective Order and to Strike Witnesses under seal.


                                      Respectfully submitted,

                                      MILLING BENSON WOODWARD L.L.P.

                                      s/ Chadwick W. Collings_____________________
                                      CHADWICK W. COLLINGS, T.A.                    # 25373
                                      HENRY M. WEBER                                # 35374
                                      LAUREN A. WILLIAMS                            # 37917
                                      68031 Capital Trace Row
                                      Mandeville, Louisiana 70471
                                      Telephone: (985) 292-2000
                                      Facsimile:   (985) 292-2001
                                      ccollings@millinglaw.com
                                      Counsel for Defendants




                                            Page 2 of 3
     Case 2:20-cv-00517-JTM-DMD Document 88-1 Filed 05/18/21 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing was electronically filed with the Clerk of

Court of the United States District Court for the Eastern District of Louisiana on May 18, 2021,

by using the CM/ECF system, which system will send a notice of electronic filing to appearing

parties in accordance with the procedures established.



                                  __s/ Chadwick W. Collings__
                                    Chadwick W. Collings




                                           Page 3 of 3
